
MEMORANDUM **
Charles L. Abrahams appeals pro se from the district court’s order dismissing as moot his appeal from the bankruptcy court’s order overruling his objection to a creditor’s claim. We have jurisdiction under 28 U.S.C. § 158(d). We review factual findings about mootness for clear error, and review legal conclusions de novo. In re Mortgages Ltd., 771 F.3d 1211, 1214 (9th Cir.2014). We affirm.
The district court properly determined that Abrahams’ appeal was equitably moot because he did not seek a stay of the objectionable orders of the bankruptcy court, and thereby permitted such a comprehensive change of circumstances to occur as to render it inequitable for this court to consider the merits of the appeal. See In re Mortgages Ltd., 771 F.3d at 1215-17; In re Thorpe Insulation Co., 677 F.3d 869, 880-81 (9th Cir.2012).
We reject as without merit Abrahams’ contentions that (1) he was denied due process because he is a pro se litigant; and (2) the Trustee and her counsel have acted in bad faith.
*1043Because we affirm dismissal of Abra-hams’s appeal as moot, we do not consider his arguments on appeal addressing the underlying merits.
The Trustee’s request for attorney’s fees and costs in connection with this appeal, set forth in her answering brief, is denied without prejudice to filing a timely motion for attorney’s fees and a timely bill of costs.
Hentz’s motion to dismiss the appeal on procedural grounds, set forth in his answering brief, is denied.
Abrahams’ opposed Motion To Reconsider the Appellate Commissioner’s Order, filed October 6, 2014, is denied.
Appellees’ requests for judicial notice, filed July 23, 2014 and July 29, 2014, are granted.
Abrahams’ requests for a hearing or oral argument are denied.
AFFIRMED.

 This disposition is not appropriate for publication and is not precedent except as provided by 9th Cir. R. 36-3.

